    Case 24-55036-jwc          Doc 4     Filed 05/17/24 Entered 05/17/24 16:13:41          Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

         IN RE:     Ccv      vv44\
                                                          Case No.
                                                                        24
                                                          Chapter
                              Debtor


                  STATEMENT REGARDING PAYMENT ADVICES (11 U.S.C. §521(a)(1))


         I, the undersigned debtor, hereby certify that during the 60 day period preceding the filing
         of my bankruptcy petition in this case, I did not receive pay stubs from an employer
         because:


                I am unemployed; or

                I am self-employed; or

                My employer did not provide pay stubs.

                Other




Dated:     5
